Case 9:20-cv-81396-RAR Document 63 Entered on FLSD Docket 03/08/2022 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-81396-RAR

  JEROME CORSI,

         Plaintiff,

  v.

  NEWSMAX MEDIA, INC., et al.,

        Defendants.
  ________________________________/

       ORDER AFFIRMING AND ADOPTING REPORT AND RECOMMENDATION
          AND GRANTING IN PART AND DENYING IN PART DEFENDANTS’
                  VERIFIED MOTION FOR ATTORNEYS’ FEES

         THIS CAUSE comes before the Court upon United States Magistrate Judge Bruce E.

  Reinhart’s Report and Recommendation [ECF No. 59] (“Report”), entered on February 2, 2022.

  The Report recommends that Defendants’ Verified Motion for Attorneys’ Fees [ECF No. 34] be

  granted in part and denied in part. See Report at 1.     The Report properly notified the parties of

  their right to object to Magistrate Judge Reinhart’s findings and Plaintiff timely filed objections to

  the Report on February 15, 2022 [ECF Nos. 60 & 61] (“Objections”).               Defendants filed a

  response to the Objections on March 1, 2022 [ECF No. 62] (“Response”).

         When a magistrate judge’s “disposition” has been properly objected to, district courts must

  review the disposition de novo.      FED. R. CIV. P. 72(b)(3).      Because Plaintiff timely filed

  Objections, the Court has conducted a de novo review of Magistrate Judge Reinhart’s legal and

  factual findings contained within his Report.

         Having carefully reviewed Defendants’ Verified Motion for Attorneys’ Fees, the Report,

  Plaintiff’s Objections, Defendants’ Response, the factual record, the applicable law, and being

  otherwise fully advised, it is hereby
Case 9:20-cv-81396-RAR Document 63 Entered on FLSD Docket 03/08/2022 Page 2 of 2



         ORDERED AND ADJUDGED that the Report [ECF No. 59] is AFFIRMED AND

  ADOPTED.      Accordingly, Defendants’ Verified Motion for Attorneys’ Fees [ECF No. 34] is

  GRANTED IN PART AND DENIED IN PART.                Defendant is awarded attorneys’ fees in the

  amount of $48,750.50 and costs in the amount of $400, for which total sum let execution issue

  forthwith.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 4th day of March, 2022.




                                                      _________________________________
                                                      RODOLFO A. RUIZ II
                                                      UNITED STATES DISTRICT JUDGE




                                          Page 2 of 2
